   Case 4:16-cv-04024-RAL Document 1 Filed 02/10/16 Page 1 of 12 PageID #: 1

                                                                                                    FILED
                              UNITED STATES DISTRICT COURT
                                                                                                    FEB 10 2016

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                               DISTRICT OF SOUTH DAKOTA
                                   SOUTHERN DIVISION

James Irving Dale,
       Plaintiff,                                                    (p"-----=C..=--V~--L/-'-0=..;~'-----Lj_.__
                                              U .S.D.C. File: ___._/__
       Vs.
James Robert Ketcher,
Travis Tjeerdsma, Tammy Dejong,                                      CIVIL RIGHTS COMPLAINT
Joshua Klimek, Corey Tyler,                                         AND LEGAL DECLARATION
Lee Kaufenberg, Robert Dooley,
Darin Young, Mary Carpenter,
Unknown Department of Corrections Employees,
Unknown Department of Health Employees,
                       Defendants.


                                        INTRODUCTION

       This is a civil rights complaint and legal declaration brought by the Plaintiff, James

Irving Dale, pursuant to 42 U.S.C § 1983 and 42 U.S.C. § 2000 cc (2), alleging that the

Defendants violated, or conspired to violate, the Plaintiff's First, Fifth, Eighth, and Fourteenth

Amendment rights under the United States Constitution and 42 U.S.C. § 2000 cc Religious Land

Use Institutionalized Persons Act ("RLUIPA"). Plaintiff further alleges that several of the above

named defendants retaliated against the Plaintiff for exercising his right to access the courts to

seek relief for ongoing Constitutional violations.

                                          JURISDICTION

       This Court has jurisdiction over Plaintiff's claims of ongoing Constitutional violations

pursuant to 28 U.S.C. § 1331 (I) and 1343.
   Case 4:16-cv-04024-RAL Document 1 Filed 02/10/16 Page 2 of 12 PageID #: 2



                                            PARTIES

1. Plaintiff, James Irving Dale, is an inmate who is currently incarcerated at the South Dakota

   State Penitentiary ("SDSP") in Sioux Falls, South Dakota, and was formerly and inmate

   incarcerated at Mike Durfee State Prison ("MDSP") in Springfield, South Dakota.

2. Defendant, James Robert Ketcher, is an inmate incarcerated at Mike Durfee State Prison

   ("MDSP"). James Robert Ketcher has been transferred to the South Dakota Department of

   Corrections ("D.O.C.") from the Minnesota D.O.C. for protective custody reasons, and is

   paid by the South Dakota D.O.C. to act as a Confidential Informant ("CI").

3. Defendant, Travis Tjeerdsma, is a Case Manager at Mike Durfee State Prison.

4. Defendant, Tammy Dejong, is a Unit Coordinator at Mike Durfee State Prison.

5. Defendant, Lee Kaufenberg, is the head of special security at Mike Durfee State Prison, who

   investigated some of the issues raised in this civil rights complaint.

6. Defendant, Joshua Klimek, is a Unit Manager at Mike Durfee State Prison.

7. Defendant, Corey Tyler, is a Correctional Officer, with the rank of Sergeant, and a

   Disciplinary Hearing Officer ("DHO"), at Mike Durfee State Prison.

8. Defendant, Robert Dooley, is the Warden at Mike Durfee State Prison, and the Director of

   Prison Operations for the South Dakota D.O.C.

9. Defendant, Darin Young, is the Warden at the South Dakota State Penitentiary.

10. Defendant, Mary Carpenter, is the Director of Health Services for the South Dakota D.O.C.

   and is employed by both the South Dakota D.O.C. and the South Dakota Department of

   Health ("DOH").

11. Defendants, Unknown Department of Corrections Employees, are D.O.C. employees at both

   MDSP and SDSP.




                                                 2
   Case 4:16-cv-04024-RAL Document 1 Filed 02/10/16 Page 3 of 12 PageID #: 3



12. Defendants, Unknown Department of Health Employees, are employees of the South Dakota

   Department of Health ("DOH").

13. The Plaintiff brings this suit against all of the known and unknown Defendants in both their

   individual and official capacities.

                                             FACTS

14. On or about Thursday, September 17, 2015, while the Plaintiffs ("Dale") was incarcerated at

   MDSP his then roommate, Rex Gard, told Dale that he had just been in the Case Manager's,

   Defendant Tjeerdsma, office and both Defendant Tjeerdsma and Defendant Dejong had been

   complaining to him about all the extra work they had to perform because of Dale's discovery

   requests in the matter of James Irving Dale v. Tammy Dejong, et al., 14-CV-4102.

15. Dale then requested that inmate Rex Gard type up an affidavit or legal declaration about what

   Defendant Tjeerdsma and Defendant Dejong had said; inmate Rex Gard then typed up an

   affidavit about his conversation with Defendants Tjeerdsma and Dejong.

16. On Wednesday, September 23, 2015, Dale moved from room 125 in the West Crawford

   living unit to room 102 in the West Crawford living unit. Dale's new roommates were James

   Robert Ketcher and Roger Delzer (not sure of the spelling)

17. On Friday, September 25, 2015, Dale's roommate, Defendant Ketcher, came into the room

   and told Dale that he just been in Defendants Tjeerdsma and Dejong's office; and they were

   complaining to him about all the extra work that they had to perform because of Dale's

   lawsuit against the D.O.C. Defendant Ketcher further stated that since he was a transfer from

   another state for protective custody purposes he did not need Dale bringing a bunch of heat to

   the room, or trouble from MDSP staff.




                                                3
   Case 4:16-cv-04024-RAL Document 1 Filed 02/10/16 Page 4 of 12 PageID #: 4



18. Dale informed Defendant Ketcher that his lawsuit had nothing to do with him and would not

   affect him. Defendant Ketcher then spent the rest of the day agitated.

19. On Monday, September 28, 2015, after 9:45 pm count cleared; inmate Demetrius Colaites

   came into room 102 and started kissing and fondling Defendant Ketcher genitals. Demetrius

   Colaites is HIV positive, and is in prison for having sex with people and not telling them

   about his HIV positive status. MDSP staff knows that Demetrius Colaites and Defendant

   Ketcher have a sexual relationship, but do nothing to stop it.

20. Dale then confronted both Demetrius Colaites and Defendant Ketcher, and told them that he

   did not want to observe them having sex and that they should go to the shower, or to

   Demetrius Colaites room.

21. Demetrius Colaites then left the room, and Defendant Ketcher became agitated and told Dale

   to mind his own business. Dale then told Defendant Ketcher that he could do what ever he

   wants, but not in from of him because Dale is an observant Jew and the Torah states that

   homosexuality is an abomination in the eyes of God.

22. On Tuesday, September 29, 2015, Defendant Ketcher went to Case Manager Travis

   Tjeerdsma's office and gave Defendant Tjeerdsma an eight inch Plexiglas shank (that

   Ketcher made in the auto-body shop) and told Defendant Tjeerdsma that it belonged to Dale.

23. A short time later Defendant Tjeerdsma called Dale's former roommates (from room 125)

   Rex Gard and Stan Maday to his office and asked them if they had ever seen Dale with a

   shank, or heard of Dale being in possession of a shank; and if that is the reason Dale moved

   out or room 102.




                                                4
   Case 4:16-cv-04024-RAL Document 1 Filed 02/10/16 Page 5 of 12 PageID #: 5



24. When Dale found out that Defendant Tjeerdsma had asked inmates Rex Gard and Stan

   Maday if they had ever observed him with a shank; Dale went to Defendant Tjeerdsma's

   office and asked Defendant Tjeerdsma if he has been inquiring about him.

25. Defendant Tjeerdsma then informed Dale that he had been given a shank by a confidential

   informant, and then inferred that Dale's former roommates had told him that they had also

   seen Dale with a shank. Defendant Tjeerdsma then had Dale placed in disciplinary

   segregation ("SHU") for possession of contraband weapon.

26. Later that afternoon the West Crawford Unit Manager, Defendant Klimek, came to the SHU

   and spoke to Dale. When Dale explained to Defendant Klimek what had transpired between

   Defendant Ketcher and Dale the evening before, that Dale had never been caught with a

   shank in his possession or in his personal belongings, and that even he should see that

   something is not right about the situation; Defendant Klimek responded by telling Dale that

   he did not believe that Dale did not know that there was a shank in room 102 (the room Dale

   shared with Defendant Ketcher) and that either way Dale was going to be transferred to

   SDSP.

27. Dale was later served with an M-3 "Possession of Contraband" weapon, major disciplinary

   report that was written by Defendant Tjeerdsma. In said disciplinary report Defendant

   Tjeerdsma claimed that three inmates had seen Dale in possession of a shank. In a later

   Informational Report Defendant Tjeerdsma claimed that the three inmates who had s~en Dale

   with a shank were Rex Gard, Stan Maday, and Defendant Ketcher.

28. On Monday October 5, 2015, Dale had a major disciplinary hearing in front of Disciplinary

   Hearing Officer ("DHO") Sergeant Corey Tyler, who is a defendant in the matter of James

   Irving Dale v. Tammy Dejong, et al., 14-CV-4102. When Dale walked into the office for his




                                                5
   Case 4:16-cv-04024-RAL Document 1 Filed 02/10/16 Page 6 of 12 PageID #: 6



   DHO hearing he noticed that Defendant Tyler already had a commissary slip filed out with

   Dale's name on it for a $99.00 fine.

29. At Dale's DHO hearing both inmates Rex Gard and Stan Maday testified that they had never

   seen Dale with a shank, or heard of Dale having a shank. Further evidence was introduced

   that showed that the Plexiglas for the shank had come from the auto-body shop.

30. At that DHO hearing Dale explained to Defendant Tyler what had transpired between

   Defendant Ketcher and Dale on the evening of September 28, 2015, regarding Defendant

   Ketcher and Demetrius Colaites homosexual activity, that Dale was never in possession of a

   shank, had no need for a shank, and that the only person who had allegedly ever seen Dale

   with said shank was Defendant Ketcher.

31. At the end of the DHO hearing Defendant Tyler found that Dale had committed the offense

   of an M-3 "Possession of Contraband" and sentenced Dale to thirty (30) days in the SHU and

   a $99.00 fine.

32. When Dale was returned to his SHU cell after his DHO hearing he noticed that his property

   was already packed up and ready for Dale to be transferred to SDSP.

33. On Tuesday October 6, 2015 (the following morning); Dale was transferred from MDSP to

   SDSP and was placed in the SDSP SHU upon arrival.

34. It usually takes five to seven days for a transfer order to go through, so the only way that

   Dale could have been on the transfer list so soon after his DHO hearing is ifMDSP staff had

   put Dale on the transfer list the five to seven days before his DHO hearing.

35. On October 13, 2015, Dale was released from the SDSP SHU.

36. On October 16, 2015 Dale received his personal property.




                                                  6
   Case 4:16-cv-04024-RAL Document 1 Filed 02/10/16 Page 7 of 12 PageID #: 7



37. After going through his personal property Dale noticed that the following legal material was

   missmg:

   a) The affidavit that inmate Rex Gard swore out concerning the comments that Defendants

       Tjeerdsma and Dejong made to him about all the extra work they had to because of

       Dale's discovery request.

   b) An affidavit from an inmate kitchen worker at MDSP regarding the fact that CBM

       Correctional Food Services Supervisor, Barry Schroeter, was feeding mainline inmates

       the kosher sausages that he claimed that he fed to Jewish inmates who ate the kosher

       trays in the matter of James Irving Dale v. Robert Dooley, et al., U.S.D.C. 14-CV-4003,

       and was also selling said kosher sausages to correctional officers off the back dock at

       MDSP.

   c) An affidavit from another inmate kitchen worker who had obtained another label off a

       package of the rice entree that CBM Correctional Food Services feeds to Jewish inmates

       at MDSP; that shows that the rice entree is not kosher and contained pork byproducts,

       along with the actual label.

   d) Affidavits from two inmate kitchen workers who were told by CBM Correctional Food

       Services Staff to wash the pots and utensils used to cook the rice entree fed to Jewish

       inmates with the same pots and pans used to cook mainline food, including pork

       products.

   e) Dale's only copy of his amended civil rights complaint in the matter of James Irving

       Dale v. Robert Dooley, et al., U.S.D.C. 14-CV-4003.

    f) An Affidavit from inmate Dennis Stanish regarding the way his consecutive sentences are

       calculated that Dale needed for his Writ of Habeas Corpus.




                                                7
   Case 4:16-cv-04024-RAL Document 1 Filed 02/10/16 Page 8 of 12 PageID #: 8



   g) Two clear plastic legal folders that held all of the aforementioned affidavits and other

       evidence.

38. There was no valid penological interest for any of the defendants to confiscate or destroy the

   aforementioned legal documents or evidence.

39. The confiscation of the aforementioned legal documents and evidence has interfered with

   Dale's ability to litigate the matters of James Irving Dale v. Tammy Dejong, et al., 14-CV-

   4102, and James Irving Dale v. Robert Dooley, et al., U.S.D.C. 14-CV-4003.

40. Dale will need the aforementioned legal documents and evidence to show that MDSP staff

   has retaliated against Dale in the matter of James Irving Dale v. Tammy Dejong, et al., 14-

   CV -4102; for both summary judgment purposes and at trial

41. Dale will need the aforementioned legal documents and evidence to show that CBM

   Correctional Food Services Staff and the South Dakota D.O.C. have been feeding Dale, who

   is Jewish, food that is not kosher or prepared in accordance with kosher/rabbinical law in the

   matter of James Irving Dale v. Robert Dooley, et al., U.S.D.C. 14-CV-4003.

42. In December of 2015, Dale had a hearing in front of the South Dakota Board of Paroles; the

   fact that Dale had recently been found guilty of an M-3 "Possession of Contraband"

   discipline report was raised at that hearing and was the deciding factor in the Parole Board

   denying Dale parole.

43. Dale has been diagnosed with being infected with the Hepatitis-C virus; there is now a cure

   for the Hepatitis-C virus, which consists of treating the infected person with the drug called

   Harvoni.

44. In order for Dale (any other inmate) to receive the Harvoni treatment for his Hepatitis-C

   infection; Dale has to have it prescribed by a Hepatology Specialist.




                                                 8
   Case 4:16-cv-04024-RAL Document 1 Filed 02/10/16 Page 9 of 12 PageID #: 9



45. On January 22, 2014, the Physicians Assistant at MDSP, Michael Joe Hanvey, (who is a

   defendant in the matter of James Irving Dale v. Tammy Dejong, et al., 14-CV-4102)

   submitted a request that Dale be referred to a Hepatology Specialist for treatment of his

   Hepatitis-C infection.

46. On March 1, 2014, that request was denied by Defendant Mary Carpenter, who is the only

   member of the South Dakota D.O.C. Utilization Management Committee ("UMC").

47. The current standard of care for Hepatitis-C infection is treatment with Harvoni; before Dale

   can be prescribed Harvoni he must have an appointment with a Hepatology Specialist.

48. Dale is Jewish and eats only kosher food. Due to Dale's recent $99.00 fine Dale has been

   forced to order indigent supplies from the SDSP commissary.

49. The only soap available to inmates who order indigent supplies through the SDSP

   commissary is "Dial" soap. "Dial" soap contains animal fat (tallow) and is not kosher.

50. The SDSP commissary sells "Next-1" soap; this soap is not made out of any animal products

   and is both kosher and halal.

51. The SDSP administration allows Muslim inmates to order "Next-1" soap from the indigent

   commissary list, but refuse to allow Dale to order ''Next-I" soap from the indigent

   comnussary.

52. Forcing Dale to use soap that is not kosher and contains non-kosher animal products violates

   Dale's sincerely held religious beliefs.

53. Dale filed an Informal Resolution Request over this issue; however, SDSP staff did not give

   Dale the Unit Coordinators response to Dale's Informal Resolution Request until after the

   deadline to file an Administrative Remedy had expired.




                                                9
  Case 4:16-cv-04024-RAL Document 1 Filed 02/10/16 Page 10 of 12 PageID #: 10



54. Defendant Young then refused to respond to Dale's Administrative Remedy request, over the

   non-kosher soap issue, by claiming that Dale did not file the Administrative Remedy request

   on time.

                                 EXHAUSTION OF REMEDIES

55. The Plaintiff has filed Informal Resolution Requests on the issues raised in this civil rights

   complaint, but was unable to obtain any relief through the Informal Resolution Request

   process.

56. The Plaintiff has filed Administrative Remedy Requests on the issues raised in this civil

   rights complaint, but was unable to obtain any relief through the Administrative Remedy

   Request process.

                                    GROUNDS FOR RELIEF

57. That Defendants James Robert Ketcher, Travis Tjeerdsma, Tammy Dejong, Joshua Klimek,

   Corey Tyler, Lee Kaufenberg, Robert Dooley, Darin Young, and Unknown Department of

   Corrections Employees; have violated, or conspired to violate, Plaintiff's First, Fifth, Eighth,

   and Fourteenth Amendment rights under the United States Constitution by retaliating against

   the Plaintiff for exercising his right to access the courts to seek relief for ongoing

   Constitutional violations.

58. That Defendants Mary Carpenter, and Unknown Department of Health Employees, have

   violated, and conspired to violate, the Plaintiff's Eighth Amendment under the United States

   Constitution.

59. That Defendants Darin Young, and Unknown Department of Corrections Employees; have

   violated the Plaintiff's First Amendment rights under the United States Constitution and 42

   U.S.C. § 2000 cc "Religious Land Use Institutionalized Persons Act."




                                                 10
    Case 4:16-cv-04024-RAL Document 1 Filed 02/10/16 Page 11 of 12 PageID #: 11



                                        RELIEF REQUESTED

         THE Plaintiff Requests that this Court hold a trial on the issues raised in this civil rights

  complaint and in the event that the Plaintiff proves that the Defendants violated the Plaintiff's

  rights under the United States Constitution and Federal law grant Plaintiff the following relief:

I. Issue a declaratory judgment stating that:

  a. Defendants James Robert Ketcher, Travis Tjeerdsma, Tammy Dejong, Joshua Klimek, Corey

     Tyler, Lee Kaufenberg, Robert Dooley, Darin Young, and Unknown Department of

     Corrections Employees; have violated, or conspired to violate, Plaintiff's First, Fifth, Eighth,

      and Fourteenth Amendment rights under the United States Constitution.

  b. Defendants Mary Carpenter, and Unknown Department of Health Employees, have violated,

      and conspired to violate, the Plaintiff's Eighth Amendment under the United States

     Constitution.

  c. Defendants Darin Young, and Unknown Department of Corrections Employees; have

     violated the Plaintiffs First Amendment rights under the United States Constitution and 42

      U.S.C. § 2000 cc "Religious Land Use Institutionalized Persons Act."

II. Issue an injunction ordering the Defendants to:

  a. Provide the Plaintiff with kosher soap that conforms to the Plaintiff's religious beliefs.

  b. Return the legal documents that the Defendants confiscated from the Plaintiff.

  c. Expunge the M-3 "Possession of Contraband" discipline report from Plaintiff's Department

      of Corrections File.

  d. Schedule an appointment with a Hepatology Specialist for the Plaintiffs Hepatitis-C

      infection and follow the Hepatology Specialists recommendations or prescribed medical care.




                                                   11
     Case 4:16-cv-04024-RAL Document 1 Filed 02/10/16 Page 12 of 12 PageID #: 12



III. Award the Plaintiff Presumptive or Compensatory damages in the amount of$5,000 against

     Defendant James Robert Ketcher.

IV. Award the Plaintiff Punitive damages in the amount of $10,000 against Defendant James

     Robert Ketcher.

 V. Award the Plaintiff Punitive damages in the amount of $10,000 jointly and severely against

     Defendants Travis Tjeerdsma, Tammy Dejong, Joshua Klimek, Corey Tyler, Lee Kaufenberg,

     Robert Dooley, and Darin Young.

VI. Award the Plaintiff Punitive damages in the amount of$10,000 against Defendant Mary

     Carpenter.

VII. Award the Plaintiff Nominal Damages in the amount of $1.00 jointly and severely against

     Defendants James Robert Ketcher, Travis Tjeerdsma, Tammy Dejong, Joshua Klimek, Corey

     Tyler, Lee Kaufenberg, Robert Dooley, Darin Young, and Mary Carpenter.

     Pursuant 28 U.S.C. § 1746 the Plaintiff, James Irving Dale, swears under penalty of perjury

   that the facts in this 42 U.S.C. § 1983 civil rights action are true and correct.



                        Signed sworn and submitted this 4th day of February, 2016.




                                         James IrVmg Dal~526
                                      South Dakota State Penitentiary
                                           Post Office Box-5911
                                       Sioux Falls, SD 57117-5911




                                                      12
